
625 S.E.2d 551 (2005)
NOLAN
v.
VILLAGE OF MARVIN.
No. 488A05.
Supreme Court of North Carolina.
November 30, 2005.
Robert E. Hornik, Jr., Chapel Hill, for William J. Nolan, III, et al.
Anthony Fox, Benjamin R. Sullivan, Charlotte, for Village of Marvin.
Lydia Boesch, for Residents of Pinewild Farms, et al.
The following order has been entered on the motion filed on the 29th day of November 2005 by Residents of Pinewild Farms, et al for leave to file Amicus Curiae Brief:
"Motion Allowed. Unless already submitted, the Amicus Brief shall be submitted to the court within the times allowed and in the manner provided by Appellate Rule 28(i). By order of the Court in conference this the 30th day of November 2005."
